         Case 1:17-cv-01480-RLY-TAB Document 3 Filed 05/06/17 Page 1 of 1 PageID #: 15
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District of Indiana
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 (67$7( 2) 68=$11( 683(5                                       )
                             Plaintiff                         )
                                v.                             )      Case No. 1:17-cv-1480
 COOK INCORPORATED, COOK MEDICAL LLC, et als.                  )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          3ODLQWLII .DUHQ &XGGHEDFN DV $QWLFLSDWHG 3HUVRQDO 5HSUHVHQWDWLYH RI WKH (VWDWH RI 6X]DQQH 6XSHU            .


Date:                                                                            /s Jeffrey S. Grand
                                                                                         Attorney’s signature


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